7 F.3d 228
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Ortez Antoinne PROPST, Defendant-Appellant.
    No. 93-6456.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 10, 1993.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, District Judge.  (CR-91-119, CA-92-464-3-P)
      Ortez Antoinne Propst, Appellant Pro Se.
      Carl Horn, III, OFFICE OF THE UNITED STATES ATTORNEY, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Ortez Antoinne Propst appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Propst, Nos.  CR-91-119;  CA-92-464-3-P (W.D.N.C. Mar. 30, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  The motion to appoint counsel is denied.
    
    AFFIRMED
    